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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO


I.T. PRODUCTIONS, LLC                           )        CASE NO. 3:16-CV-03073
                                                )
             Plaintiffs,                        )        JUDGE JACK ZOUHARY
                                                )
vs.                                             )
                                                )
                                                )        PLAINTIFF’S MOTION TO
Sid Fields                                      )        DISMISS PURSUANT TO
                                                )        F.R.C.P. RULE 21 WITH
             Defendant.                         )        PREJUDICE


       NOW COMES, the Plaintiff, and pursuant to Rule 21 of the Federal Rules of Civil

Procedure moves this Court for an Order permitting the Plaintiff to dismiss its Complaint against

Defendant, Sid Fields, with prejudice, on the grounds that Plaintiff’s Counsel has taken the

Deposition of Mr. Fields, during which Mr. Fields contended that although Plaintiff’s Film had

been down loaded to his computer that neither he nor his wife had downloaded Plaintiff’s Film,

and that it was probably his n’er-do-well son-in-law that had downloaded Plaintiff’s claim. The

Defendant went on to explain that he had custody of his grandchildren and that Defendant’s Son-

in-Law periodically visited the children and had accessed Defendant’s computer on a number of

occasions.

      Based upon Defendant’s deposition, the Plaintiff is inclined to accept Mr. Fields’

explanation as to how Plaintiff’s Film ended up on Defendant’s computer. Accordingly, Plaintiff

moves this Court for an Order dismissing Plaintiff’s claims against Sid Fields in this matter be

dismissed with prejudice.
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                                                    Respectfully Submitted,



                                                    ____________________________________
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                                                    Counsel for Plaintiff

                                CERTIFICATE OF SERVICE

       I hereby certify that on July 10, 2018, a copy of the foregoing was electronically filed
with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all parties
by operation of the Court’s electronic filing system. Parties may access this filing through the
Court’s system.

                                                            _______________________
                                                            Timothy A. Shimko,
                                                            Counsel for Plaintiff




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